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                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

 DAVID LUGO,                                        )
                                                    )         Case No. 1:23-cv-1738
                  Plaintiff,                        )
                                                    )
                  v.                                )
                                                    )          Hon. Nancy L. Maldonado,
 CHICAGO POLICE OFFICERS                            )          District Judge
 REYNALDO GUEVARA, JOANN                            )
 HALVORSEN, as PERSONAL                             )          Hon. Daniel McLaughlin, Magistrate
 REPRESENTATIVE of the ESTATE OF                    )          Judge
 ERNEST HALVORSEN, ANTHONY                          )
 RICCIO, STEPHEN GAWRYS, JAMES                      )
 HENK, GEORGE FIGUEROA, UNKNOWN                     )
 OFFICERS OF THE CHICAGO POLICE                     )
 DEPARTMENT, and THE CITY OF                        )
 CHICAGO,                                           )         JURY TRIAL DEMANDED
                                                    )
                  Defendants.



                                PARTIES’ JOINT STATUS REPORT


        Pursuant to the Court’s October 2, 2024 order (Dkt. 135), the parties, by their respective

undersigned counsel, respectfully submit the following status report providing an update on

discovery.

   I.        Discovery Update:

             a. On October 7, 2024, the Parties conducted a partial inspection of the Chicago Police

Department homicide files for the investigation into the death of Michael Velez. However, the

parties continue to confer on the remaining scope of the requested inspection.

             b.    Plaintiff has conducted the depositions of Defendants Figueroa, Henk, and

Gawrys. The Parties have also deposed third-party witnesses Detective Edward Strandberg,
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Lekeisha Rivera, and Christopher Wright. The Parties’ remaining deposition schedule is set forth

below. Additional depositions may be sought by the parties.

    Witness                                          Date
    Charles Buccholz                                 October 23
    Hootan Bahmandeji                                October 24
    Defendant Riccio                                 October 25
    Joel Valentin                                    Defendants anticipate filing a
                                                     motion to depose Mr. Valentin, as
                                                     he is an incarcerated witness. The
                                                     parties will work cooperatively to
                                                     confirm a mutually agreeable date.
    Former ASA Joanne Roddy                          October 31
    Defendant Guevara                                November 6
    Julio Sanchez                                    The parties are working to find a
                                                     mutually agreeable date.
    Michael Krejci                                   November 12, pending service and
                                                     confirmation with the witness
    Peter Hull                                       The parties proposed November 12
                                                     to the deponent and are awaiting
                                                     confirmation.
    Plaintiff David Lugo                             November 19 1
    Jill Goldsmith                                   November 21
    Former ASA Donna Norton                          November 22, pending service and
                                                     confirmation with the witness
    Former ASA John Dillon                           Mr. Dillon’s attorney has relayed
                                                     that the initially noticed date does
                                                     not work, but he will send dates on
                                                     which Mr. Dillion is available prior
                                                     to November 29th.
    City’s Rule 30(b)(6) witness                     Plaintiff has served City Defendants
                                                     with a notice. Most topics are
                                                     identical to those in an agreed
                                                     notice for Rule 30(b)(6) deposition
                                                     in prior Guevara cases; for those,
                                                     Plaintiff has asked the City whether
                                                     it wishes to simply designate prior
                                                     testimony in lieu of reproducing a
                                                     witness on the same topics. With
                                                     regard to the remaining few topics,
                                                     Plaintiff has asked the City to
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  Defendants sought to take Plaintiff’s deposition in mid-October but were informed by Plaintiff’s counsel that a trial
and other obligations would necessitate the deposition being in mid-November. Given this, Defendants might need
to conduct very limited follow up discovery after this deposition that could necessitate a small discovery extension.
If that is necessary Defendants will raise that issue with the court immediately.

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  Witness                                      Date
                                               confer regarding any disputes and
                                               provide a date for deposition.
  Joseph Sparks                                Defendants have made contact with
                                               this witness and are working to
                                               obtain dates, which they expect to
                                               have soon.
  Officer J. Smith                             The City’s counsel has been unable
                                               to get into contact with this
                                               deponent despite months of efforts,
                                               and thus will give his last known
                                               contact information to Plaintiff by
                                               October 23.
  Efrain Sanchez                               The Parties are still attempting
                                               service; have not been able to locate
                                               witness to serve.


     II.        Pending Motions

           a.      The parties cooperated and conferred on the language for an unopposed Petition to

Unseal Grand Jury Materials in Cook County State Court, filed on August 9, 2024. The Court was

set to hear the petition on October 3, 2024, but the hearing was continued to October 8, 2024. On

October 8, the CCSAO, who is opposing the motion, asked the court for additional time to respond.

Plaintiff informed the Court of the pending fact discovery deadline in this case and requested the

soonest possible hearing date. The Court reset the matter for October 18, 2024. On October 18, the

Court informed the Parties that Judge Reyna, who intended to hear argument and issue a ruling in

this matter specifically, was unavailable. The Court reset the hearing for her next available date,

November 27, 2024, just two days before the current discovery cutoff. The Parties anticipate that

this delay may impact the current schedule as even if a ruling is given that day, it will take additional

time for the transcripts to be transcribed and produced to the Parties.

           b.      As discussed above, Defendants intend to file a motion for leave to depose an

incarcerated witness, Joel Valentin, pursuant to Fed. R. Civ. P. 30(a)(2)(B).


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   III.      Third-Party Subpoenas

   While the Cook County State’s Attorney’s (“CCSAO”) produced its file in response to

Plaintiff’s subpoena, it redacted and withheld significant pieces of information. Following multiple

conferences and written exchanges, the CCSAO agreed on September 18 to remove redactions on

a number of items. The CCSAO has not provided those items yet, nor has it provided its agreed

amended privilege log. Plaintiff continues to work with the CCSAO to get the agreed-upon items.

   Similarly, Defendants issued their own subpoena to the CCSAO who produced its file and

corresponding privilege log. After extensive 37.2 conferences, on October 18, 2024, Defendants

received an amended production from the CCSAO who re-produced 11,849 pages of responsive

documents with various redactions removed. Defendants are in the process of reviewing the

amended production and will likely continue to engage in 37.2 conferences with ASA Adelman to

assess if motion practice will be necessary.

   IV.       Plaintiff’s Outstanding Discovery Disputes with Defendant City of Chicago

          a. Monell Discovery

          On August 6, 2024, Plaintiff filed his Motion to Compel Monell Discovery. Dkt. 113.

The Court granted Plaintiff’s motion to compel as to homicide files, including as to designation

of prior homicide files and the production of open homicide files and ordered the City to begin a

rolling production of the files on September 27, 2024. No files have been produced yet. The City

has agreed to designate responsive homicide files by November 15, 2024. During the process of

identifying the relevant files to pull, scan, and produce, the City learned that a rolling production

will not save any additional time, but would be less efficient.

          While Plaintiff’s motion to compel was pending, and following many conferrals, Plaintiff

and the City reached an agreement as to Complaint Register (“CR”) files, both those that the City



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would designate from prior production and those that the City would produce for the first time in

this case. On October 11, the City further agreed to provide designations/confirmations of

homicide and complaint register files previously produced in prior cases by November 15.

       The City requires more time to produce the open homicide files and CR files that are

being produced for the first time in this litigation. The Parties jointly propose that the City be

afforded an extension to produce the outstanding compelled homicide files and the outstanding

agreed CR files by December 15.

       b. Additional Discovery Disputes

       The City of Chicago has completed its investigation into gang crimes files and gang

crimes documents sought in Requests for Production 3, 7, 49 and 50, and has not been able to

locate any additional materials. In the last status report, the City has also agreed to, within seven

days, designate training materials responsive to Plaintiff's Request for Production 46, and

confirm it is not aware of any other responsive training materials. The City has not yet provided

this designation, but has agreed to do so by October 30.




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                          RESPECTFULLY SUBMITTED,

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